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                          THE UNITED STATES DISTRICT COURT
                         FOR THE EASTERN DISTRICT OF VIRGINIA
                                   Richmond Division

  Marie J. Jackson               )
                                 )
             Plaintiff           )
  v.                             )   Civil Action No.: 3:08CV182
                                 )
  United Air Lines, Inc.         )
         and                     )
  Trans States Airlines          )
                                 )
                 Defendants.     )

                         PLAINTIFF’S FINAL PRE TRIAL DISCLOSURES


  Now comes the Plaintiff, by counsel, and makes the following Pre Trial Disclosures to
  the Defendants as required by the Federal Rules of Civil Procedure and by the Scheduling
  Order entered by this Court.

       A. Proposed exhibits

          UAL ticket for Flight 282 from Sacramento to Chicago, and United Express
          Flight 8042 from Chicago to Richmond
          Correspondence from Marie Jackson to UAL 1/15/07
          Correspondence from Marie Jackson to UAL 1/31/07
          Correspondence from Marie Jackson to UAL 3/11/07
          Correspondence from UAL to Marie Jackson 10/17/07
          Photographs of Concourse B at RIC 11/13/08
          Flight Attendant Pongallo logbook
          United Express Agreement between UAL and TSA
          Trans State Airlines General Operations Manual
          Photographs of Peggy Jackson and Marie Jackson with Peggy Jackson

          X-Rays of Peggy Jackson; Bon Secours and MCV
          Medical records: Bon Secours Memorial Hospital: 1/5/07
          Medical records: VCU Health System (MCV) 1/10/07
          Medical records: Henrico Health Care Center 1/10-2/23/07
          Medical records: Sutter Tracy Community Hospital 3/19/07
          Medical records: San Joaquin General Hospital 4/6/07
          Medical records: Valley Care Hospital 2008
          Medical records: Hacienda Health Care System 7/17/08-Present
          TriCare Payment Log (9 pages), March 25, 2009
          TriCare Explanation of Benefits 1/5/07 – 2/21/09
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        Med Care Summary Notices 1/5/07 – 2/21/09

     B. Proposed Witnesses

        Marie Jackson
        Peggy J. Jackson (by deposition)
        Diane Pongallo, TSA Flight Attendant (by deposition)
        Nicole Casian, TSA Co-pilot
        Johnie Freeman, Supervisor, Prime Flight Services
        Michael Patton, Sky Cap, Prime Flight Services
        Trinette Fisher, Dispatcher, Prime Flight Services
        Dr. April Obier, emergency room, Bon Secours Memorial Regional Hospital
        Dr. Jay M. Levine, Bon Secours Memorial Hospital
        Dr. Aamer A. Syed, resident physician, VCU Health Systems
        Dr. Claire Coggins, Physician, VCU Health Systems
        Dr. Amjad Mughal, physician, Henrico Health Systems
        Dr. C. U. Zachariah, physician, Tracy, CA (by deposition)
        Dr. Michael R. Alper, physician, Hacienda Care Center (by deposition)
        Dr. Ruben Ruiz, Hacienda Care Center
        Dr. Curtis Hayes, Hacienda Care Center
        Kathy Haggard, MedCare Claims Examiner, Norfolk, VA


  C. Proposed Stipulations

     1. On November 30, 2006, Plaintiff’s daughter, Marie Jackson, made arrangements
        for Plaintiff on the United Airlines website for her mother to travel from
        Sacramento, California to Richmond, Virginia, via Chicago, Illinois, on January
        5, 2007.
     2. Marie Jackson notified United Airlines when she purchased the United Airlines
        ticket that her mother would require wheelchair assistance in Richmond.
     3. On January 3, 2007, Marie Jackson contacted United to confirm the wheelchair
        request, because Plaintiff’s electronic ticket did not indicate that the request had
        been noted.
     4. The United Agent with whom Marie Jackson spoke, confirmed that the
        wheelchair request had been made.
     5. Plaintiff flew from Chicago to Richmond on United Flight 8042 for which
        Defendant Trans States provided the flight crew
     6. Once aboard flight 8042, Plaintiff asked the flight attendant, Ms. Diane Pongallo
        (Pongallo), for wheel chair assistance for when she arrived in Richmond.
     7. Pongallo notified the pilot that there was a wheelchair request, and she testified
        that the usual procedure would have been for the pilot to then notify the ground
        crew of the request.
     8. As United Flight 8042 was deboarding in Richmond, Pongallo asked Plaintiff to
        move to the front of the plane to wait for the wheelchair assistance to arrive.
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     9. Plaintiff told Pongallo that she felt that she could make her way up the jetway,
         without a wheelchair, and she proceeded to do so.
     10. Pongallo further testified that once Ms. Jackson walked out to the gate, she
         remained on the plane to clean and perform her various checks for the next flight,
         after which she walked up the jetway and saw Plaintiff sitting at the top of the
         jetway.
     11. Jackson again asked Pongolla how long it would take for the wheelchair to arrive,
         and Pongallo replied that she did not know. She again encouraged Plaintiff to wait
         for the wheelchair service before trying to go to the baggage claim area on her
         own.
     12. Pongallo thereupon left Ms. Jackson and proceeded to a near by restroom. When
         Pongallo exited the restroom, she noticed that Plaintiff was walking, unassisted,
         from the gate area to the baggage claim location.
     13. Once Plaintiff had passed her, Pongallo heard some commotion behind her,
         turned around, and observed that Plaintiff had fallen to the floor. Pongallo went to
         immediately assist Plaintiff.


  Respectfully submitted,

  /s/ Morton H. Clark
  Counsel for the Plaintiff


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                         CERTIFICATE OF FILING AND SERVICE


         I hereby certify that on the 8th day of July 2009, I electronically filed the
     foregoing with the Clerk of the Court using the CM/ECF system, which will send a
     notification of such filing to the following:




                                                  /s/ Morton H. Clark
                                                  Counsel for the Plaintiff



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